Case 1:17-mc-00151-LPS Document 658 Filed 08/14/23 Page 1 of 4 PageID #: 16693




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


CRYSTALLEX INTERNATIONAL CORP.,

               Plaintiff,                                Misc. No. 17-151-LPS

       v.

BOLIVARIAN REPUBLIC OF VENEZUELA,

               Defendant.


             ATTACHED JUDGMENT STATEMENT OF ACL1 INVESTMENTS
            LTD., ACL2 INVESTMENTS LTD., AND LDO (CAYMAN) XVIII LTD.

       Pursuant to (i) paragraph 32 of the Sixth Revised Proposed Order (A) Establishing Sale

and Bidding Procedures, (B) Approving Special Master’s Report and Recommendation Regarding

Proposed Sale Procedures Order, (C) Affirming Retention of Evercore as Investment Banker by

Special Master and (D) Regarding Related Matters (D.I. 481), and (ii) the Order (D.I. 654)

adopting the Special Master’s proposed procedures regarding the filing of Attached Judgment

Statements and supporting documentation (D.I. 652), ACL1 Investments Ltd., ACL2 Investments

Ltd., and LDO (Cayman) XVIII Ltd. (collectively, “ACL”) respectfully submit the following

Attached Judgment Statement.

                                    Requested Information

       1.      A short summary of the parties’ underlying dispute.

       Since no later than September 27, 2019, ACL1 Investments Ltd., ACL2 Investments Ltd.,

and LDO (Cayman) XVIII Ltd. have been beneficial owners of certain 9.375% Global Bonds due

2034, ISIN No. US922646BL74 (the “Bonds”), issued by the Bolivarian Republic of Venezuela

(“Venezuela”). Beginning on January 13, 2018, Venezuela failed to make payments due on the
Case 1:17-mc-00151-LPS Document 658 Filed 08/14/23 Page 2 of 4 PageID #: 16694




Bonds. On September 27, 2019, ACL1 Investments Ltd., ACL2 Investments Ltd., and certain

other plaintiffs commenced a lawsuit against Venezuela for breach of contract, captioned ACL1

Investments Ltd. et al. v. Bolivarian Republic of Venezuela, No. 19 Civ. 9014 (S.D.N.Y.) (the

“New York Action”). On October 14, 2020, a First Amended Complaint was filed in the New

York Action adding claims by LDO (Cayman) XVIII Ltd. On December 4, 2020, ACL and

Venezuela filed in the New York Action a Stipulation for Entry of Final Judgment and Permanent

Injunction. Pursuant thereto, on December 7, 2020, the court in the New York Action entered a

Final Judgment and Permanent Injunction, attached hereto as Exhibit B (the “ACL Judgment”).

       2.      A description of any collection efforts by the Judgment Holder to-date.

       On February 5, 2021, pursuant to 28 U.S.C. § 1963, ACL registered the ACL Judgment in

this District, initiating the matter captioned ACL1 Investments Ltd. et al. v. Bolivarian Republic of

Venezuela, Misc. No. 21-46 (D. Del.) (the “Delaware Action”). On November 22, 2021, ACL

filed in the Delaware Action a Motion for an Order Conditionally Authorizing the Issuance and

Service of a Writ of Attachment Fieri Facias. On March 23, 2023, that motion was conditionally

granted by this Court.

       3.      The initial amount of the applicable judgment.

       As set forth more fully in Exhibit B, the initial amount of the ACL Judgment is

$118,183,218.38.

       4.      The amount by which the judgment has been reduced, if at all, as a result of any
               collection efforts by the Judgment Creditor.

       None.




                                                 2
Case 1:17-mc-00151-LPS Document 658 Filed 08/14/23 Page 3 of 4 PageID #: 16695




       5.      The proposed rate at which post-judgment interest is, or may be, accruing on the
               applicable judgment, including a proposed formula to be used for calculation of
               post-judgment interest on a daily-basis.

       Post-judgment interest on the ACL Judgment is accruing at the “rate equal to the weekly

average 1-year constant maturity Treasury yield, as published by the Board of Governors of the

Federal Reserve System, for the calendar week preceding[] the date of the judgment.” 28 U.S.C.

§ 1961(a). Daily rates for each business day in the calendar week preceding the date of the ACL

Judgment, as published by the Board of Governors of the Federal Reserve System, are attached as

Exhibit C. The average of those rates is 0.11%. Because the interest “shall be compounded

annually,” 28 U.S.C. § 1961(b), the amount of post-judgment interest on a given date is

                                $118,183,218.38 × (1.0011𝑡 − 1)

where t equals the number of days from December 7, 2020, to the given date, divided by 365.

                             Requested Supporting Documentation

       1.      A signed certification, substantially in the form of Exhibit A to the Special Master’s

letter (D.I. 652), is attached hereto as Exhibit A.

       2.      A copy of the ACL Judgment, as docketed in the New York Action, is attached

hereto as Exhibit B.

       3.      Supporting documentation for ACL’s proposed calculation of post-judgment

interest, i.e., the daily 1-year constant maturity Treasury yield, as published by the Board of

Governors of the Federal Reserve System, for the calendar week preceding the date of the ACL

Judgment, retrieved from https://www.federalreserve.gov/datadownload/Choose.aspx?rel=H15, is

attached hereto as Exhibit C.




                                                  3
Case 1:17-mc-00151-LPS Document 658 Filed 08/14/23 Page 4 of 4 PageID #: 16696




Dated: August 14, 2023                Respectfully submitted.

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